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            EXHIBIT 5
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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF NEW YORK


     STATES OF NEW YORK,
     MASSACHUSETTS,
     WASHINGTON, COLORADO,
     CONNECTICUT, DELAWARE,
     DISTRICT OF COLUMBIA,
     HAWAII, ILLINOIS, IOWA, NEW
     MEXICO, NORTH CAROLINA,                   CIVIL ACTION NO. 1:17-cv-05228
     OREGON, PENNSYLVANIA,                     (NGG) (JO)
     RHODE ISLAND, VERMONT, and
     VIRGINIA,

                           Plaintiffs,

                v.

     DONALD TRUMP, in his official
     capacity as President of the United
     States; U.S. DEPARTMENT OF
     HOMELAND SECURITY; ELAINE
     C. DUKE, in her official capacity; U.S.
     CITIZENSHIP AND IMMIGRATION
     SERVICES; U.S. IMMIGRATION
     AND CUSTOMS ENFORCEMENT;
     and the UNITED STATES OF
     AMERICA,

                           Defendants.
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 1                                  Declaration of Tom K. Wong
 2
           I, Tom K. Wong, declare as follows:
 3
        1. My name is Tom K. Wong and I am over eighteen years of age. I have personal
 4
           knowledge of and could testify in Court concerning the following statements of fact.
 5

 6      2. I am an Associate Professor with tenure at the University of California, San Diego

 7         (UCSD). I work in the political science department, which is consistently ranked by

 8         U.S. News & World Report as one of the top ten political science departments
 9
           nationally. I am also the Director of the International Migration Studies Program Minor
10
           at UCSD.
11
        3. I am an expert on immigration politics and policy, which includes the Deferred Action
12
           for Childhood Arrivals (DACA) policy. I have written two peer-reviewed books and
13

14         several peer-reviewed journal articles, book chapters, and reports on these subjects. My

15         most recent book analyzes 31,193 roll call votes on immigration-related legislation in
16         the U.S. Congress from 2005 to present, which makes it the most comprehensive
17
           analysis to date on the contemporary politics of immigration in the U.S. My most recent
18
           research on DACA is a national survey of 3,063 DACA recipients conducted in August
19
           2017. This 2017 survey is in addition to two peer-reviewed journal articles on DACA
20

21         (International Migration Review and Journal on Migration and Human Security), one

22         book-length monograph (supported by a grant from the U.S. Department of Homeland

23         Security [DHS]), and three other reports based on national surveys that I have
24         conducted of DACA recipients.
25
        4. I received a Ph.D. in political science at the end of the 2010-2011 academic year. I was
26

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 1           a post-doctoral research fellow during the 2011-2012 academic year. I joined the
 2           political science department at UCSD during the 2012-2013 academic year. I served as
 3
             an advisor to the White House Initiative on Asian Americans and Pacific Islanders
 4
             (WHIAAPI) during the 2015-2016 academic year, where I worked on the immigration
 5
             portfolio.
 6

 7       5. I have attached a true and complete copy of my curriculum vitae as Exhibit A to this

 8           Declaration.

 9

10
                                                        DACA
11
         6. Since it was first announced on June 15, 2012, the Deferred Action for Childhood
12
             Arrivals policy has provided temporary relief from deportation as well as work
13
             authorization to 793,026 people.1
14

15

16                                2017 National Survey of DACA Recipients
17       7. From August 1, 2017 to August 20, 2017, I conducted a national online survey of
18
             DACA recipients. The resulting survey is the largest study to date of DACA recipients
19
             with a sample size of 3,063 respondents in forty-six states plus the District of
20
             Colombia.
21

22
         8. Methodologically, several steps were taken to account for the known sources of bias

23           that can result from online panels. To prevent ballot stuffing, meaning one person

24
             1
               Based on the most recent publicly available data from U.S. Citizenship and Immigration Services
25   (USCIS) at the time of this writing, which is up June 30, 2017. USCIS provides quarterly reports on DACA. See:
     https://www.uscis.gov/sites/default/files/USCIS/Resources/Reports%20and%20Studies/Immigration%20Forms%
26   20Data/All%20Form%20Types/DACA/daca_performancedata_fy2017_qtr3.pdf

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 1         submitting multiple responses, incentives were not given for each completed survey
 2         that was submitted. Moreover, a state-of-the-art online survey platform (Qualtrics),
 3
           which can be programmed to prevent one IP address from submitting multiple
 4
           responses, was used. To prevent spoiled ballots, meaning people who responded to the
 5
           survey who are not undocumented, I used a unique validation test for undocumented
 6

 7         status. Multiple questions were asked about each respondent’s migratory history. These

 8         questions were asked during different parts of the survey. When a question was

 9         repeated, it was posed using different wording. For example, “How old were you when
10
           you first came to the U.S.?” and, “In what year did you first come to the U.S.?” (current
11
           age was used to tether these answers). If there was agreement in the answers, meaning
12
           there was consistency regarding the respondent’s migratory history, the respondent was
13
           kept in the resulting sample. If there were inconsistencies, the respondent was
14

15         excluded. Also, Facebook ads were used to improve the geographic representativeness

16         of the resulting sample, as well as to recruit respondents who are outside of the
17         networks of the organizations that conducted outreach for the survey. Because there is
18
           no directory of undocumented immigrants from which to randomly sample from,
19
           researchers need to partner with organizations that interact with undocumented
20
           immigrants to conduct such surveys. The outreach partners were United We Dream
21

22
           (UWD), the National Immigration Law Center (NILC), and the Center for American

23         Progress (CAP). Given the nature of online opt-in surveys, it is not possible to construct

24         a valid margin of error.
25      9. Evaluating representativeness and reweighting the sample requires current and
26

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 1           complete data on the characteristics of DACA recipients. The only publicly available
 2           data that is current and complete is their geographic breakdown at the state level. These
 3
             data are made publicly available by USCIS. USCIS also provides publicly available
 4
             data on the country of birth of DACA recipients but these data are incomplete. 2 Thus, a
 5
             two-sample Kolmogorov-Smirnov test of equality of distributions shows that the state-
 6

 7           by-state breakdown of the sample is representative of the state-by-state breakdown of

 8           all DACA recipients (p = .570).3

 9

10
                         DACA Improves the Economic Integration of Recipients
11
         10. DACA has been critical in improving the economic integration of DACA recipients.
12
         11. Regarding employment, 91% of DACA recipients are currently employed. Among
13
             those 25 years and older, this percentage climbs to 93%.
14

15       12. Moreover, after receiving DACA:

16                a. 54% got their first job;
17                b. 69% got a job with better pay;
18
                  c. 54% got a job that better fits their education and training;
19

20
             2
                USCIS only lists the top twenty-five countries of birth, and one of these is “unknown.” USCIS has
21   analyzed the demographic characteristics of DACA recipients, but this initial analysis was based on data on
     DACA approvals from August 2012 to September 2013. See:
22   https://www.uscis.gov/sites/default/files/USCIS/Humanitarian/Deferred%20Action%20for%20Childhood%20Arr
     ivals/USCIS-DACA-Characteristics-Data-2014-7-10.pdf. More recently, USCIS published updated
23   characteristics. A Kolmogorov-Smirnov test of equality of distributions shows that the state-by-state breakdown
     of the sample is representative of the state-by-state breakdown of all “active DACA recipients” as of September
     2017 (p = .557). Moreover, the most recent USCIS report indicates that the average age of active DACA
24
     recipients is 23.8. The average age of the sample is similar at 25.2. The most recent USCIS data do not provide
     detailed cross-tabulations sufficient for weighting purposes.
25            3
                That is, there is no evidence to suggest that the distribution of survey respondents by state and the
     actual number of DACA recipients by state is statistically significantly different. Moreover, analyzing and
26   comparing the unweighted and weighted results show that the findings are substantively similar throughout.

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 1               d. 54% got a job that better fits their long-term career goals;
 2               e. 57% got a job with health insurance or other benefits;
 3
                 f. 56% got a job with improved work conditions; and
 4
                 g. 5% started their own businesses.
 5
            Table 1 summarizes these results. The column “t 25” reports the results for
 6

 7          respondents 25 years and older.

 8                                                                                                                              t 25
                                                         Got my first job   ........................................   54.2%   35.3%
 9                                              Got a job with better pay   ........................................   68.5%   77.7%
                    Got a job that better fits my education and training    ........................................   54.2%   59.6%
10                  Got a job that better fits my long-term career goals    ........................................   53.9%   61.4%
                      Got a job with health insurance or other benefits     ........................................   57.3%   66.9%
11
                             Got a job with improved work conditions        ........................................   56.2%   64.4%
12                                              Started my own business     ........................................    5.4%    7.9%

13      Note: percentages do not sum to 100 as individuals may select all that apply. n = 1,662 for all respondents 25
                                                                                                       years and older.
14

15
        13. Regarding earnings, the data make clear that DACA is having a positive and significant
16
            effect on wages.
17
        14. The average hourly wage of DACA recipients has increased by 69% since receiving
18
            DACA. Among those 25 years and older, the average hourly wage has increased by
19

20          81%.

21      15. The data also show that average annual earnings among DACA recipients is $36,232.
22          Among those 25 years and older, it is $41,621.
23
        16. Higher wages have meant greater financial independence and consumer purchasing
24
            power. For example:
25
                 a. 69% reported, “I have been able to earn more money, which has helped me
26

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 1                     become financially independent”;
 2                b. 71% reported, “I have been able to earn more money, which has helped my
 3
                       family financially”;
 4
                  c. 65% purchased their first car after receiving DACA; and
 5
                  d. 16% purchased their first home after receiving DACA.
 6

 7           Table 2 summarizes these results. The column “t 25” reports the results for

 8           respondents 25 years and older.
 9                                                                                                                            t 25
            I have been able to earn more money, which has helped me
10
                                       become financially independent      ........................................   69.0%   73.4%
            I have been able to earn more money, which has helped my
11
                                                    family financially     ........................................   70.8%   73.7%
12                                                Bought my first car      ........................................   64.5%   67.2%
                                                      Bought a home        ........................................   15.7%   23.5%
13
         Note: percentages do not sum to 100 as individuals may select all that apply. n = 1,662 for all respondents 25
14                                                                                                      years and older.

15

16       17. Higher wages are one indicator of the broader positive economic impact of DACA. For

17           example, higher wages translate into more federal income taxes paid, more state
18           income taxes paid, and more in Federal Insurance Contributions Act (FICA)
19
             contributions, which are mandatory payroll deductions for Social Security and
20
             Medicare. Moreover, large purchases such as cars add to state tax revenues, as most
21
             states collect a percentage of the car purchase in sales tax, along with additional
22

23           registration and title fees. Similarly, home buying further adds to state and local tax

24           revenues in the form of property taxes. 4

25
             4
                There is a literature on how home buying creates new jobs and adds new spending in local economies.
26   For job creation, see here: https://www.nar.realtor/topics/home-ownership-matters/jobs-impact-of-an-existing-

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 1

 2                             DACA Improves the Education of Recipients
 3
         18. Overall, 45% of DACA recipients are currently in school. Among those who are
 4
             currently in school, 94% reported, “I pursued educational opportunities that I
 5
             previously could not” because of DACA.
 6

 7       19. Among those in school, 72% are pursuing a bachelor’s degree or higher. The majors

 8           and specializations that DACA recipients are pursuing include accounting,

 9           biochemistry, business administration, chemical engineering, civil engineering,
10
             computer science, early childhood education, economics, environmental science,
11
             history, law, mathematics, mechanical engineering, neuroscience, physics, psychology,
12
             and social work, to name a few.
13
         20. Regarding educational attainment, 36% of respondents 25 years and older have a
14

15           bachelor’s degree or higher.

16       21. The education DACA recipients are receiving not only means a better prepared and
17           competitive workforce, but DACA recipients are also being recognized by many of the
18
             top companies in the country. The data show that at least 72% of the top twenty-five
19
             Fortune 500 companies employ DACA recipients.
20

21

22
                                  DACA and Normality in Day-to-Day Life

23       22. The data also show that DACA has provided recipients a degree of normality in their

24           day-to-day lives. For example, after receiving DACA:
25
     home-purchase. For spending in local economies, see here: https://www.cnbc.com/2017/04/12/immigrant-
26   households-impact-success-of-real-estate-market-says-report.html

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  1               a. 61% opened a bank account;
  2               b. 66% got their first credit card;
  3
                  c. 80% got a driver’s license for the first time;
  4
                  d. 55% got a state identification card for the first time; and
  5
                  e. 49% became organ donors.
  6

  7          Table 3 summarizes these results. The column “t 25” reports the results for

  8          respondents 25 years and older.
  9                                                                                                                               t 25
                                                  Opened a bank account       ........................................   61.0%   47.3%
 10
                                                  Got my first credit card    ........................................   65.7%   67.9%
                               Got my driver’s license for the first time     ........................................   79.7%   80.4%
 11
                         Got a state identification card for the first time   ........................................   55.1%   51.1%
 12                                              Became an organ donor        ........................................   48.7%   49.8%

 13      Note: percentages do not sum to 100 as individuals may select all that apply. n = 1,662 for all respondents 25
                                                                                                        years and older.
 14

 15
                         DACA Recipients and American Citizen Family Members
 16
         23. A combined 73% of DACA recipients have either an American citizen sibling, spouse,
 17
             or child:
 18

 19               a. 59% have an American citizen sibling;

 20               b. 17% have an American citizen spouse; and

 21               c. 26% have an American citizen child.
 22          Table 4 summarizes these results.
 23

 24

 25

 26

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  1                                          American citizen spouse     ........................................   16.6%
                                              American citizen child     ........................................   25.7%
  2                                          American citizen sibling    ........................................   58.9%

  3                         American citizen spouse, child, or sibling   ........................................   72.7%
  4
                                    Note: percentages do not sum to 100 as individuals may select all that apply.
  5

  6
                 Many Recipients May Go Back “Into the Shadows” if DACA Ends
  7

  8      24. The data show that should DACA end, recipients may go back “into the shadows.” For

  9         example, if DACA ended 53% reported that they would be less likely to report a crime

 10         they witnessed; 47% reported that they would be less likely to report a crime even if
 11         they were the victim; 48% reported that they would be less likely to go to the hospital if
 12
            they suffered an injury; and 60% reported that they would be less likely to report wage
 13
            theft by their employer.
 14
         25. Moreover, 22% reported being “likely” or “very likely” to leave the country if DACA
 15

 16         ends.

 17

 18                                    DACA Recipients by State
 19
         26. Below are examples of state-specific profiles of DACA recipients. Data from the
 20
            survey are used to construct these profiles.
 21

 22
                              DACA Recipients in the State of Colorado
 23

 24      27. As of June 30, 2017, there were 17,310 initial DACA approvals in the State of

 25

 26

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  1           Colorado.5
  2       28. Regarding employment and earnings:
  3
                  a. An estimated 15,281 DACA recipients in the State of Colorado are currently
  4
                      employed6;
  5
                  b. An estimated 935 DACA recipients in the State of Colorado are business
  6

  7                   owners 7; and

  8               c. The State of Colorado’s DACA recipients earn an estimated $627.2 million

  9                   annually.8
 10
          29. Regarding education:
 11
                  a. An estimated 7,772 DACA recipients in the State of Colorado are currently in
 12
                      school9;
 13
                  b. Among those currently in school, an estimated 7,275 have “pursued educational
 14

 15                   opportunities that I previously could not” because of DACA 10; and

 16               c. An estimated 5,557 DACA recipients in the State of Colorado are currently
 17                   pursuing a bachelor’s degree or higher. 11
 18
          30. Regarding American citizen family members:
 19
                  a. An estimated 12,584 DACA recipients in the State of Colorado have an
 20

 21
              5
 22
      https://www.uscis.gov/sites/default/files/USCIS/Resources/Reports%20and%20Studies/Immigration%20Forms%
 23   20Data/All%20Form%20Types/DACA/daca_performancedata_fy2017_qtr3.pdf
               6
                 91.4% of 17,310.
               7
                 5.4% of 17,310.
 24            8
                 15,821 multiplied by $36,231.91. This translates into $38.9 million annually in Social Security
      contributions (6.2% per FICA) and $9.1 million annually in Medicare contributions (1.45% per FICA).
 25            9
                 44.9% of 17,310.
               10
                  93.6 % of 7,772.
 26            11
                  71.5% of 7,772.

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  1                   American citizen sibling, spouse, or child.12
  2

  3
                                DACA Recipients in the State of Connecticut
  4
          31. As of June 30, 2017, there were 4,989 initial DACA approvals in the State of
  5
              Connecticut.13
  6

  7       32. Regarding employment and earnings:

  8                a. An estimated 4,560 DACA recipients in the State of Connecticut are currently

  9                   employed14;
 10
                   b. An estimated 269 DACA recipients in the State of Connecticut are business
 11
                      owners 15; and
 12
                   c. The State of Connecticut’s DACA recipients earn an estimated $180.8 million
 13
                      annually.16
 14

 15       33. Regarding education:

 16                a. An estimated 2,240 DACA recipients in the State of Connecticut are currently
 17                   in school17;
 18
                   b. Among those currently in school, an estimated 2,097 have “pursued educational
 19
                      opportunities that I previously could not” because of DACA18; and
 20

 21
              12
 22               72.7% of 17,310.
              13
                  As a common rule, smaller sample sizes lead to greater uncertainty around estimates.
 23   https://www.uscis.gov/sites/default/files/USCIS/Resources/Reports%20and%20Studies/Immigration%20Forms%
      20Data/All%20Form%20Types/DACA/daca_performancedata_fy2017_qtr3.pdf
               14
                  91.4% of 4,989.
 24            15
                  5.4% of 4,989.
               16
                  4,560 multiplied by $36,231.91. This translates into $11.2 million annually in Social Security
 25   contributions (6.2% per FICA) and $2.6 million annually in Medicare contributions (1.45% per FICA).
               17
                  44.9% of 4,989.
 26            18
                  93.6 % of 2,240.

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  1                c. An estimated 1,602 DACA recipients in the State of Connecticut are currently
  2                   pursuing a bachelor’s degree or higher. 19
  3
          34. Regarding American citizen family members:
  4
                   a. An estimated 3,627 DACA recipients in the State of Connecticut have an
  5
                      American citizen sibling, spouse, or child. 20
  6

  7

  8                               DACA Recipients in the State of Delaware

  9       35. As of June 30, 2017, there were 1,451 initial DACA approvals in the State of
 10
              Delaware.21
 11
          36. Regarding employment and earnings:
 12
                   a. An estimated 1,326 DACA recipients in the State of Delaware are currently
 13
                      employed22; and
 14

 15                b. The State of Delaware’s DACA recipients earn an estimated $52.6 million

 16                   annually.23
 17       37. Regarding education:
 18
                   a. An estimated 651 DACA recipients in the State of Delaware are currently in
 19
                      school24;
 20
                   b. Among those currently in school, an estimated 610 have “pursued educational
 21

 22           19
                  71.5% of 2,240.
              20
 23               72.7% of 4,989.
               21
                  As a common rule, smaller sample sizes lead to greater uncertainty around estimates.
      https://www.uscis.gov/sites/default/files/USCIS/Resources/Reports%20and%20Studies/Immigration%20Forms%
 24
      20Data/All%20Form%20Types/DACA/daca_performancedata_fy2017_qtr3.pdf
               22
                  91.4% of 1,451.
 25            23
                  1,326 multiplied by $36,231.91. This translates into $3.3 million annually in Social Security
      contributions (6.2% per FICA) and $0.8 million annually in Medicare contributions (1.45% per FICA).
 26            24
                  44.9% of 1,451.

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  1                   opportunities that I previously could not” because of DACA 25; and
  2                c. An estimated 466 DACA recipients in the State of Delaware are currently
  3
                      pursuing a bachelor’s degree or higher. 26
  4
          38. Regarding American citizen family members:
  5
                   a. An estimated 1,055 DACA recipients in the State of Delaware have an
  6

  7                   American citizen sibling, spouse, or child. 27

  8

  9                            DACA Recipients in the District of Columbia
 10
          39. As of June 30, 2017, there were 773 initial DACA approvals in the District of
 11
              Columbia.28
 12
          40. Regarding employment and earnings:
 13
                   a. An estimated 707 DACA recipients in the District of Columbia are currently
 14

 15                   employed29; and

 16                b. The District of Columbia’s DACA recipients earn an estimated $28.0 million
 17                   annually.30
 18
          41. Regarding education:
 19
                   a. An estimated 347 DACA recipients in the District of Columbia are currently in
 20

 21

 22           25
                  93.6 % of 651.
              26
 23               71.5% of 651.
               27
                  72.7% of 1,451.
               28
                  As a common rule, smaller sample sizes lead to greater uncertainty around estimates.
 24
      https://www.uscis.gov/sites/default/files/USCIS/Resources/Reports%20and%20Studies/Immigration%20Forms%
      20Data/All%20Form%20Types/DACA/daca_performancedata_fy2017_qtr3.pdf
 25            29
                  91.4% of 773.
               30
                  707 multiplied by $36,231.91. This translates into $1.7 million annually in Social Security
 26   contributions (6.2% per FICA) and $0.4 million annually in Medicare contributions (1.45% per FICA).

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  1                    school31;
  2                b. Among those currently in school, an estimated 325 have “pursued educational
  3
                       opportunities that I previously could not” because of DACA 32; and
  4
                   c. An estimated 248 DACA recipients in the District of Columbia are currently
  5
                       pursuing a bachelor’s degree or higher. 33
  6

  7       42. Regarding American citizen family members:

  8                a. An estimated 562 DACA recipients in the District of Columbia have an

  9                    American citizen sibling, spouse, or child. 34
 10

 11
                                     DACA Recipients in the State of Hawaii
 12
          43. As of June 30, 2017, there were 582 initial DACA approvals in the State of Hawaii.35
 13
          44. Regarding employment and earnings:
 14

 15                a. An estimated 532 DACA recipients in the State of Hawaii are currently

 16                    employed36; and
 17                b. The State of Hawaii’s DACA recipients earn an estimated $21.1 million
 18
                       annually.37
 19
          45. Regarding education:
 20

 21
              31
 22               44.9% of 773.
              32
                  93.6 % of 347.
               33
 23               71.5% of 347.
               34
                  72.7% of 773.
               35
                  As a common rule, smaller sample sizes lead to greater uncertainty around estimates.
 24
      https://www.uscis.gov/sites/default/files/USCIS/Resources/Reports%20and%20Studies/Immigration%20Forms%
      20Data/All%20Form%20Types/DACA/daca_performancedata_fy2017_qtr3.pdf
 25            36
                  91.4% of 44.
               37
                  40 multiplied by $36,231.91. This translates into approximately $99,900 annually in Social Security
 26   contributions (6.2% per FICA) and $23,000 annually in Medicare contributions (1.45% per FICA).

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  1                a. An estimated 261 DACA recipients in the State of Hawaii are currently in
  2                    school38;
  3
                   b. Among those currently in school, an estimated 245 have “pursued educational
  4
                       opportunities that I previously could not” because of DACA 39; and
  5
                   c. An estimated 187 DACA recipients in the State of Hawaii are currently
  6

  7                    pursuing a bachelor’s degree or higher. 40

  8       46. Regarding American citizen family members:

  9                a. An estimated 423 DACA recipients in the State of Hawaii have an American
 10
                       citizen sibling, spouse, or child. 41
 11

 12
                                   DACA Recipients in the State of Illinois
 13
          47. As of June 30, 2017, there were 42,537 initial DACA approvals in the State of
 14

 15           Illinois.42

 16       48. Regarding employment and earnings:
 17                a. An estimated 38,879 DACA recipients in the State of Illinois are currently
 18
                       employed43;
 19
                   b. An estimated 2,297 DACA recipients in the State of Illinois are business
 20
                       owners 44; and
 21

 22           38
                 44.9% of 44.
              39
 23              93.6 % of 20.
              40
                 71.5% of 20.
              41
                 72.7% of 44.
 24           42

      https://www.uscis.gov/sites/default/files/USCIS/Resources/Reports%20and%20Studies/Immigration%20Forms%
 25   20Data/All%20Form%20Types/DACA/daca_performancedata_fy2017_qtr3.pdf
               43
                  91.4% of 42,537.
 26            44
                  5.4% of 42,537.

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  1               c. The State of Illinois’s DACA recipients earn an estimated $1.5 billion
  2                   annually.45
  3
          49. Regarding education:
  4
                  a. An estimated 19,099 DACA recipients in the State of Illinois are currently in
  5
                      school46;
  6

  7               b. Among those currently in school, an estimated 17,877 have “pursued

  8                   educational opportunities that I previously could not” because of DACA47; and

  9               c. An estimated 13,656 DACA recipients in the State of Illinois are currently
 10
                      pursuing a bachelor’s degree or higher. 48
 11
          50. Regarding American citizen family members:
 12
                  a. An estimated 30,924 DACA recipients in the State of Illinois have an American
 13
                      citizen sibling, spouse, or child.49
 14

 15

 16                                  DACA Recipients in the State of Iowa
 17       51. As of June 30, 2017, there were 2,812 initial DACA approvals in the State of Iowa.50
 18
          52. Regarding employment and earnings:
 19
                  a. An estimated 2,570 DACA recipients in the State of Iowa are currently
 20

 21

 22            45
                  38,879 multiplied by $36,231.91. This translates into $95.6 million annually in Social Security
 23   contributions (6.2% per FICA) and $22.3 million annually in Medicare contributions (1.45% per FICA).
               46
                  44.9% of 42,537.
               47
                  93.6 % of 19,099.
 24            48
                  71.5% of 19,099.
               49
                  72.7% of 42,537.
 25            50
                  As a common rule, smaller sample sizes lead to greater uncertainty around estimates.
      https://www.uscis.gov/sites/default/files/USCIS/Resources/Reports%20and%20Studies/Immigration%20Forms%
 26   20Data/All%20Form%20Types/DACA/daca_performancedata_fy2017_qtr3.pdf

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  1                     employed51;
  2                 b. An estimated 152 DACA recipients in the State of Iowa are business owners 52;
  3
                        and
  4
                    c. The State of Iowa’s DACA recipients earn an estimated $101.9 million
  5
                        annually.53
  6

  7       53. Regarding education:

  8                 a. An estimated 1,263 DACA recipients in the State of Iowa are currently in

  9                     school54;
 10
                    b. Among those currently in school, an estimated 1,182 have “pursued educational
 11
                        opportunities that I previously could not” because of DACA 55; and
 12
                    c. An estimated 903 DACA recipients in the State of Iowa are currently pursuing a
 13
                        bachelor’s degree or higher. 56
 14

 15       54. Regarding American citizen family members:

 16                 a. An estimated 2,044 DACA recipients in the State of Iowa have an American
 17                     citizen sibling, spouse, or child. 57
 18

 19
                                 DACA Recipients in the State of Massachusetts
 20
          55. As of June 30, 2017, there were 8,053 initial DACA approvals in the State of
 21

 22
               51
 23               91.4% of 2,812.
               52
                  5.4% of 2,812.
               53
                  2,570 multiplied by $36,231.91. This translates into $6.3 million annually in Social Security
 24
      contributions (6.2% per FICA) and $1.5 million annually in Medicare contributions (1.45% per FICA).
               54
                  44.9% of 2,812.
 25            55
                  93.6 % of 1,263.
               56
                  71.5% of 1,263.
 26            57
                  72.7% of 2,812.

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  1           Massachusetts.58
  2       56. Regarding employment and earnings:
  3
                   a. An estimated 7,360 DACA recipients in the State of Massachusetts are currently
  4
                      employed59;
  5
                   b. An estimated 435 DACA recipients in the State of Massachusetts are business
  6

  7                   owners 60; and

  8                c. The State of Massachusetts’s DACA recipients earn an estimated $291.8

  9                   million annually.61
 10
          57. Regarding education:
 11
                   a. An estimated 3,616 DACA recipients in the State of Massachusetts are currently
 12
                      in school62;
 13
                   b. Among those currently in school, an estimated 3,384 have “pursued educational
 14

 15                   opportunities that I previously could not” because of DACA 63; and

 16                c. An estimated 2,585 DACA recipients in the State of Massachusetts are currently
 17                   pursuing a bachelor’s degree or higher. 64
 18
          58. Regarding American citizen family members:
 19
                   a. An estimated 5,855 DACA recipients in the State of Massachusetts have an
 20

 21
              58
 22
      https://www.uscis.gov/sites/default/files/USCIS/Resources/Reports%20and%20Studies/Immigration%20Forms%
 23   20Data/All%20Form%20Types/DACA/daca_performancedata_fy2017_qtr3.pdf
               59
                  91.4% of 8,053.
               60
                  5.4% of 8,053.
 24            61
                  7,360 multiplied by $36,231.91. This translates into $18.1 million annually in Social Security
      contributions (6.2% per FICA) and $4.2 million annually in Medicare contributions (1.45% per FICA).
 25            62
                  44.9% of 8,053.
               63
                  93.6 % of 3,616.
 26            64
                  71.5% of 3,616.

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  1                      American citizen sibling, spouse, or child.65
  2

  3
                                     DACA Recipients in the State of New Mexico
  4
          59. As of June 30, 2017, there were 6,838 initial DACA approvals in the State of New
  5
              Mexico.66
  6

  7       60. Regarding employment and earnings:

  8                  a. An estimated 6,250 DACA recipients in the State of New Mexico are currently

  9                      employed67;
 10
                     b. An estimated 369 DACA recipients in the State of New Mexico are business
 11
                         owners 68; and
 12
                     c. The State of New Mexico’s DACA recipients earn an estimated $247.8 million
 13
                         annually.69
 14

 15       61. Regarding education:

 16                  a. An estimated 3,070 DACA recipients in the State of New Mexico are currently
 17                      in school70;
 18
                     b. Among those currently in school, an estimated 2,874 have “pursued educational
 19
                         opportunities that I previously could not” because of DACA 71; and
 20

 21
              65
 22                72.7% of 8,053.
              66

 23   https://www.uscis.gov/sites/default/files/USCIS/Resources/Reports%20and%20Studies/Immigration%20Forms%
      20Data/All%20Form%20Types/DACA/daca_performancedata_fy2017_qtr3.pdf
               67
                  91.4% of 6,838.
 24            68
                  5.4% of 6,838.
               69
                  6,250 multiplied by $36,231.91. This translates into $15.4 million annually in Social Security
 25   contributions (6.2% per FICA) and $3.6 million annually in Medicare contributions (1.45% per FICA).
               70
                  44.9% of 6,838.
 26            71
                  93.6 % of 3,070.

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  1                  c. An estimated 2,195 DACA recipients in the State of New Mexico are currently
  2                      pursuing a bachelor’s degree or higher. 72
  3
          62. Regarding American citizen family members:
  4
                     a. An estimated 4,971 DACA recipients in the State of New Mexico have an
  5
                         American citizen sibling, spouse, or child. 73
  6

  7

  8                                  DACA Recipients in the State of New York

  9       63. As of June 30, 2017, there were 42,503 initial DACA approvals in the State of New
 10
              York.74
 11
          64. Regarding employment and earnings:
 12
                     a. An estimated 38,848 DACA recipients in the State of New York are currently
 13
                         employed75;
 14

 15                  b. An estimated 2,295 DACA recipients in the State of New York are business

 16                      owners 76; and
 17                  c. The State of New York’s DACA recipients earn an estimated $1.5 billion
 18
                         annually.77
 19
          65. Regarding education:
 20
                     a. An estimated 19,084 DACA recipients in the State of New York are currently in
 21

 22           72
                   71.5% of 3,070.
              73
 23                72.7% of 6,838.
              74

      https://www.uscis.gov/sites/default/files/USCIS/Resources/Reports%20and%20Studies/Immigration%20Forms%
 24
      20Data/All%20Form%20Types/DACA/daca_performancedata_fy2017_qtr3.pdf
               75
                  91.4% of 42,503.
 25            76
                  5.4% of 42,503.
               77
                  38,848 multiplied by $36,231.91. This translates into $95.5 million annually in Social Security
 26   contributions (6.2% per FICA) and $22.3 million annually in Medicare contributions (1.45% per FICA).

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  1                   school78;
  2                b. Among those currently in school, an estimated 17,862 have “pursued
  3
                      educational opportunities that I previously could not” because of DACA 79; and
  4
                   c. An estimated 13,645 are currently pursuing a bachelor’s degree or higher. 80
  5
          66. Regarding American citizen family members:
  6

  7                a. An estimated 30,900 DACA recipients in the State of New York have an

  8                   American citizen sibling, spouse, or child.81

  9

 10
                               DACA Recipients in the State of North Carolina
 11
          67. As of June 30, 2017, there were 27,455 initial DACA approvals in the State of North
 12
              Carolina.82
 13
          68. Regarding employment and earnings:
 14

 15                a. An estimated 25,094 DACA recipients in the State of North Carolina are

 16                   currently employed 83;
 17                b. An estimated 1,483 DACA recipients in the State of North Carolina are
 18
                      business owners84; and
 19
                   c. The State of North Carolina’s DACA recipients earn an estimated $994.7
 20

 21

 22           78
                 44.9% of 42,503.
              79
 23              93.6 % of 19,084.
              80
                 71.5% of 19,084.
              81
                 72.7% of 42,503.
 24           82

      https://www.uscis.gov/sites/default/files/USCIS/Resources/Reports%20and%20Studies/Immigration%20Forms%
 25   20Data/All%20Form%20Types/DACA/daca_performancedata_fy2017_qtr3.pdf
               83
                  91.4% of 27,455.
 26            84
                  5.4% of 27,455.

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  1                     million annually.85
  2       69. Regarding education:
  3
                    a. An estimated 12,327 DACA recipients in the State of North Carolina are
  4
                        currently in school86;
  5
                    b. Among those currently in school, an estimated 11,538 have “pursued
  6

  7                     educational opportunities that I previously could not” because of DACA 87; and

  8                 c. An estimated 8,814 DACA recipients in the State of North Carolina are

  9                     currently pursuing a bachelor’s degree or higher. 88
 10
          70. Regarding American citizen family members:
 11
                    a. An estimated 19,960 DACA recipients in the State of North Carolina have an
 12
                        American citizen sibling, spouse, or child.89
 13

 14

 15                                  DACA Recipients in the State of Oregon

 16       71. As of June 30, 2017, there were 11,321 initial DACA approvals in the State of
 17            Oregon.90
 18
          72. Regarding employment and earnings:
 19
                    a. An estimated 10,347 DACA recipients in the State of Oregon are currently
 20

 21

 22            85
                  25,094 multiplied by $36,231.91. This translates into $61.7 million annually in Social Security
 23   contributions (6.2% per FICA) and $14.4 million annually in Medicare contributions (1.45% per FICA).
               86
                  44.9% of 27,455.
               87
                  93.6 % of 12,327.
 24            88
                  71.5% of 12,327.
               89
                  72.7% of 27,455.
 25            90

      https://www.uscis.gov/sites/default/files/USCIS/Resources/Reports%20and%20Studies/Immigration%20Forms%
 26   20Data/All%20Form%20Types/DACA/daca_performancedata_fy2017_qtr3.pdf

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  1                     employed91;
  2                 b. An estimated 611 DACA recipients in the State of Oregon are business
  3
                        owners 92; and
  4
                    c. The State of Oregon’s DACA recipients earn an estimated $410.2 million
  5
                        annually.93
  6

  7       73. Regarding education:

  8                 a. An estimated 5,083 DACA recipients in the State of Oregon are currently in

  9                     school94;
 10
                    b. Among those currently in school, an estimated 4,758 have “pursued educational
 11
                        opportunities that I previously could not” because of DACA95; and
 12
                    c. An estimated 3,634 DACA recipients in the State of Oregon are currently
 13
                        pursuing a bachelor’s degree or higher. 96
 14

 15       74. Regarding American citizen family members:

 16                 a. An estimated 8,230 DACA recipients in the State of Oregon have an American
 17                     citizen sibling, spouse, or child.97
 18

 19
                                  DACA Recipients in the State of Pennsylvania
 20
          75. As of June 30, 2017, there were 5,982 initial DACA approvals in the State of
 21

 22
               91
 23               91.4% of 11,321.
               92
                  5.4% of 11,321.
               93
                  10,347 multiplied by $36,231.91. This translates into $25.4 million annually in Social Security
 24
      contributions (6.2% per FICA) and $5.9 million annually in Medicare contributions (1.45% per FICA).
               94
                  44.9% of 11,321.
 25            95
                  93.6 % of 5,083.
               96
                  71.5% of 5,083.
 26            97
                  72.7% of 11,321.

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  1           Pennsylvania.98
  2       76. Regarding employment and earnings:
  3
                   a. An estimated 5,468 DACA recipients in the State of Pennsylvania are currently
  4
                      employed99;
  5
                   b. An estimated 323 DACA recipients in the State of Pennsylvania are business
  6

  7                   owners 100; and

  8                c. The State of Pennsylvania’s DACA recipients earn an estimated $216.7 million

  9                   annually.101
 10
          77. Regarding education:
 11
                   a. An estimated 2,686 DACA recipients in the State of Pennsylvania are currently
 12
                      in school102;
 13
                   b. Among those currently in school, an estimated 2,514 have “pursued educational
 14

 15                   opportunities that I previously could not” because of DACA 103; and

 16                c. An estimated 1,920 DACA recipients in the State of Pennsylvania are currently
 17                   pursuing a bachelor’s degree or higher. 104
 18
          78. Regarding American citizen family members:
 19
                   a. An estimated 4,349 DACA recipients in the State of Pennsylvania have an
 20

 21
              98
 22
      https://www.uscis.gov/sites/default/files/USCIS/Resources/Reports%20and%20Studies/Immigration%20Forms%
 23   20Data/All%20Form%20Types/DACA/daca_performancedata_fy2017_qtr3.pdf
               99
                  91.4% of 5,982.
               100
                   5.4% of 5,982.
 24            101
                   5,468 multiplied by $36,231.91. This translates into $13.4 million annually in Social Security
      contributions (6.2% per FICA) and $3.1 million annually in Medicare contributions (1.45% per FICA).
 25            102
                   44.9% of 5,982.
               103
                   93.6 % of 2,686.
 26            104
                   71.5% of 2,686.

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  1                    American citizen sibling, spouse, or child. 105
  2

  3
                               DACA Recipients in the State of Rhode Island
  4
          79. As of June 30, 2017, there were 1,248 initial DACA approvals in the State of Rhode
  5
              Island.106
  6

  7       80. Regarding employment and earnings:

  8                 a. An estimated 1,141 DACA recipients in the State of Rhode Island are currently

  9                    employed107; and
 10
                    b. The State of Rhode Island’s DACA recipients earn an estimated $45.2 million
 11
                       annually.108
 12
          81. Regarding education:
 13
                    a. An estimated 560 DACA recipients in the State of Rhode Island are currently in
 14

 15                    school109;

 16                 b. Among those currently in school, an estimated 524 have “pursued educational
 17                    opportunities that I previously could not” because of DACA 110; and
 18
                    c. An estimated 401 DACA recipients in the State of Rhode Island are currently
 19
                       pursuing a bachelor’s degree or higher. 111
 20

 21
              105
 22                72.7% of 5,982.
              106
                   As a common rule, smaller sample sizes lead to greater uncertainty around estimates.
 23   https://www.uscis.gov/sites/default/files/USCIS/Resources/Reports%20and%20Studies/Immigration%20Forms%
      20Data/All%20Form%20Types/DACA/daca_performancedata_fy2017_qtr3.pdf
               107
                   91.4% of 1,248.
 24            108
                   1,141 multiplied by $36,231.91. This translates into $2.8 million annually in Social Security
      contributions (6.2% per FICA) and $0.7 million annually in Medicare contributions (1.45% per FICA).
 25            109
                   44.9% of 1,248.
               110
                   93.6 % of 560.
 26            111
                   71.5% of 560.

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  1       82. Regarding American citizen family members:
  2                  a. An estimated 907 DACA recipients in the State of Rhode Island have an
  3
                         American citizen sibling, spouse, or child. 112
  4

  5
                                      DACA Recipients in the State of Virginia
  6

  7       83. As of June 30, 2017, there were 12,248 initial DACA approvals in the State of

  8           Virginia.113

  9       84. Regarding employment and earnings:
 10
                     a. An estimated 11,195 DACA recipients in the State of Virginia are currently
 11
                         employed114;
 12
                     b. An estimated 661 DACA recipients in the State of Virginia are business
 13
                         owners 115; and
 14

 15                  c. The State of Virginia’s DACA recipients earn an estimated $443.8 million

 16                      annually.116
 17       85. Regarding education:
 18
                     a. An estimated 5,499 DACA recipients in the State of Virginia are currently in
 19
                         school117;
 20
                     b. Among those currently in school, an estimated 5,147 have “pursued educational
 21

 22           112
                    72.7% of 1,248.
              113
 23
      https://www.uscis.gov/sites/default/files/USCIS/Resources/Reports%20and%20Studies/Immigration%20Forms%
      20Data/All%20Form%20Types/DACA/daca_performancedata_fy2017_qtr3.pdf
 24            114
                   91.4% of 12,248.
               115
                   5.4% of 12,248.
 25            116
                   11,195 multiplied by $36,231.91. This translates into $27.5 million annually in Social Security
      contributions (6.2% per FICA) and $6.4 million annually in Medicare contributions (1.45% per FICA).
 26            117
                   44.9% of 12,248.

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  1                    opportunities that I previously could not” because of DACA 118; and
  2                 c. An estimated 3,932 DACA recipients in the State of Virginia are currently
  3
                       pursuing a bachelor’s degree or higher. 119
  4
          86. Regarding American citizen family members:
  5
                    a. An estimated 8,904 DACA recipients in the State of Virginia have an American
  6

  7                    citizen sibling, spouse, or child.120

  8

  9                              DACA Recipients in the State of Washington
 10
          87. As of June 30, 2017, there were 17,937 initial DACA approvals in the State of
 11
              Washington.121
 12
          88. Regarding employment and earnings:
 13
                    a. An estimated 16,394 DACA recipients in the State of Washington are currently
 14

 15                    employed122;

 16                 b. An estimated 969 DACA recipients in the State of Washington are business
 17                    owners 123; and
 18
                    c. The State of Washington’s DACA recipients earn an estimated $649.9 million
 19
                       annually.124
 20

 21
              118
 22               93.6 % of 5,499.
              119
                  71.5% of 5,499.
              120
 23               72.7% of 12,248.
              121

      https://www.uscis.gov/sites/default/files/USCIS/Resources/Reports%20and%20Studies/Immigration%20Forms%
 24
      20Data/All%20Form%20Types/DACA/daca_performancedata_fy2017_qtr3.pdf
               122
                   91.4% of 17,937.
 25            123
                   5.4% of 17,937.
               124
                   16,394 multiplied by $36,231.91. This translates into $40.3 million annually in Social Security
 26   contributions (6.2% per FICA) and $9.4 million annually in Medicare contributions (1.45% per FICA).

      DECLARATION OF TOM K. WONG                           27                    ATTORNEY GENERAL OF WASHINGTON
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  1      89. Regarding education:
  2               a. An estimated 8,054 DACA recipients in the State of Washington are currently
  3
                     in school125;
  4
                  b. Among those currently in school, an estimated 7,538 have “pursued educational
  5
                     opportunities that I previously could not” because of DACA 126; and
  6

  7               c. An estimated 5,758 DACA recipients in the State of Washington are currently

  8                  pursuing a bachelor’s degree or higher. 127

  9      90. Regarding American citizen family members:
 10
                  a. An estimated 13,040 DACA recipients in the State of Washington have an
 11
                     American citizen sibling, spouse, or child.128
 12
            I declare under penalty of perjury under the laws of the United States of America that
 13
      the foregoing is true and correct to the best of our knowledge.
 14

 15                                                                             Respectfully submitted,

 16                                                                     __________________________
 17                                                                                   Dr. Tom K. Wong
 18                                                                             September 27, 2017
                                                                        __________________________
 19
                                                                                                      Date
 20

 21

 22

 23

 24
            125
                44.9% of 17,937.
 25         126
                93.6 % of 8,054.
            127
                71.5% of 8,054.
 26         128
                72.7% of 17,937.

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